Case: 4:06-cr-00280-JCH   Doc. #: 187 Filed: 02/23/07   Page: 1 of 7 PageID #:
                                     359
Case: 4:06-cr-00280-JCH   Doc. #: 187 Filed: 02/23/07   Page: 2 of 7 PageID #:
                                     360
Case: 4:06-cr-00280-JCH   Doc. #: 187 Filed: 02/23/07   Page: 3 of 7 PageID #:
                                     361
Case: 4:06-cr-00280-JCH   Doc. #: 187 Filed: 02/23/07   Page: 4 of 7 PageID #:
                                     362
Case: 4:06-cr-00280-JCH   Doc. #: 187 Filed: 02/23/07   Page: 5 of 7 PageID #:
                                     363
Case: 4:06-cr-00280-JCH   Doc. #: 187 Filed: 02/23/07   Page: 6 of 7 PageID #:
                                     364
Case: 4:06-cr-00280-JCH   Doc. #: 187 Filed: 02/23/07   Page: 7 of 7 PageID #:
                                     365
